                             UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF ARIZONA

                                                       Chapter 11
 In re:
                                                       Case No. 2:23-bk-02832-DPC
 LEGACY CARES, INC.,
                                                       (Jointly Administered)
                             Debtor.
                                                       SIXTH MONTHLY INTERIM APPLICATION
                                                       OF ALIXPARTNERS, LLP, FINANCIAL
                                                       ADVISOR TO THE OFFICIAL COMMITTEE
                                                       OF UNSECURED CREDITORS, FOR
                                                       ALLOWANCE OF COMPENSATION FOR
                                                       PROFESSIONAL SERVICES RENDERED AND
                                                       REIMBURSEMENT OF EXPENSES
                                                       INCURRED FOR THE PERIOD FROM
                                                       NOVEMBER 1, 2023 THROUGH
                                                       NOVEMBER 30, 2023


 Name of Applicant:                          ALIXPARTNERS, LLP

                                             Financial Advisor to the Official Committee of
 Applicant’s Role in Case:
                                             Unsecured Creditors

 Date of Retention:                          May 31, 2023 as of May 18, 2023 [Docket No. 166]

 Time period covered during the Sixth                Beginning of Period          End of Period
 Interim Period:                                     November 1, 2023           November 30, 2023

           Summary of Total Fees and Expenses Requested During the Sixth Interim Period:

 Total fees requested during the Sixth
                                             $5,924.50
 Interim Period:

 Total expenses requested during the Sixth
                                             $0.00
 Interim Period:
 Total fees and expenses requested during
                                             $5,924.50
 the Sixth Interim Period:
 Blended hourly rate for fees incurred
                                             $665.67
 during the Sixth Interim Period:




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                        SUMMARY OF MONTHLY FEE APPLICATIONS


 Date Filed;                               Requested                            Paid                 Amount
                    Period
 Docket No.                         Fees           Expenses          Fees              Expenses     Outstanding
  08/07/2023    05/18/2023 -
                               $   180,659.50   $    4,771.00   $   180,659.50     $     4,771.00   $         -
 Docket #342      06/30/2023
  09/07/2023    07/01/2023 -
                                    25,283.00             -          25,283.00                -               -
 Docket #456      07/31/2023
  10/05/2023    08/01/2023 -
                                    24,585.00             -          24,585.00                -               -
 Docket #529      08/31/2023
  10/23/2023    09/01/2023 -
                               $    26,042.00                        26,042.00                -               -
 Docket #546      09/30/2023
  11/15/2023    10/01/2023 -
                               $     5,401.50                         5,401.50                                -
 Docket #585      10/31/2023
  01/04/2024    11/01/2023 -
                               $     5,924.50                               -                           5,924.50
 Docket #N/A      11/30/2023
            Total              $   267,895.50   $    4,771.00   $   261,971.00     $     4,771.00   $   5,924.50




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                    SUMMARY OF HOURS AND FEES BY PROFESSIONAL
                     NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023



      Professional                    Title               Rate    Hours         Fees

David MacGreevey          Partner & Managing Director    $1,330       0.5   $          665.00
Thomas G Prince           Senior Vice President           $735        4.4          3,234.00
Kaitlyn A Sundt           Senior Vice President           $585        0.3              175.50
Lisa Marie Bonito         Vice President                  $500        3.7          1,850.00
             Total Hours and Fees for Professionals                   8.9   $      5,924.50


                                           Average Billing Rate             $          665.67




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                                    ALIXPARTNERS, LLP

            SUMMARY OF HOURS AND FEES BY MATTER CATEGORY
               NOVEMBER 1, 2023 THROUGH NOVEMBER 30, 2023


    Code                       Matter Category                        Hours             Fees
     1.2    Meetings & Communication with UCC and Creditors                   0.4 $            294.00
     1.7    Analysis of Liquidity and Cash Management                         2.8         2,058.00
    1.20    Fee Applications & Fee Statements                                 5.7         3,572.50
                  Total Hours and Fees By Matter Category                     8.9   $     5,924.50


                                                              Average Billing Rate $           665.67




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                             UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF ARIZONA


 In re:                                                Chapter 11

 LEGACY CARES, INC.,                                   Case No. 2:23-bk-02832-DPC

                             Debtor.                   (Jointly Administered)

                                                       SIXTH MONTHLY INTERIM APPLICATION
                                                       OF ALIXPARTNERS, LLP, FINANCIAL
                                                       ADVISOR TO THE OFFICIAL COMMITTEE
                                                       OF UNSECURED CREDITORS, FOR
                                                       ALLOWANCE OF COMPENSATION FOR
                                                       PROFESSIONAL SERVICES RENDERED
                                                       AND REIMBURSEMENT OF EXPENSES
                                                       INCURRED FOR THE PERIOD FROM
                                                       NOVEMBER 1, 2023 THROUGH NOVEMBER
                                                       30, 2023


          AlixPartners, LLP (“AlixPartners”), as financial advisor to the official committee of unsecured

creditors (the “Committee”) to Legacy Cares, Inc. (the “Debtor”), hereby submits its sixth monthly

interim application (the “Application”) for allowance of compensation for professional services

rendered and reimbursement of out-of-pocket expenses incurred for the period from November 1, 2023

through November 30, 2023 (the “Sixth Interim Period”). AlixPartners respectfully states as follows:

                                         Jurisdiction and Venue

          1.     The United States Bankruptcy Court for the District of Arizona (the “Court”) has

jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant

to 28 U.S.C. § 157(b)(2).

          2.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.




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                                          Basis for Relief

        3.     The bases for the relief requested herein are Sections 330 and 331 of Title 11 of the

United States Bankruptcy Code (the “Bankruptcy Code”), Rule 2016 of the Federal Rules of

Bankruptcy Procedure (the “Bankruptcy Rules”), the United States Trustee Guidelines for Reviewing

Applications for Compensation and Reimbursement of Expenses Filed Under 11 U.S.C. § 330, adopted

June 11, 2013 (the “U.S. Trustee Guidelines”) and the Order Approving Motion to (i) Permit Monthly

Interim Fee Applications Under §331; and (ii) Establish Notice Procedure for Interim Fee

Applications [Docket No. 194] (the “Interim Compensation Order”).

                                           Background

        4.     On May 1, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for relief

under chapter 11 of the Bankruptcy Code, thereby commencing the above-captioned chapter 11 case

(the “Chapter 11 Case”) in this Court.

        5.     No trustee or examiner has been appointed in this Chapter 11 Case.

        6.     On May 15, 2023, the Office of the United States Trustee for the District of Arizona

(the “U.S. Trustee”) appointed the Committee [Docket No. 91].

                                     AlixPartners’ Retention

        7.     On May 25, 2023, the Committee filed its Application to Employ AlixPartners, LLP as

Financial Advisor to the Official Committee of Unsecured Creditors as of May 18, 2023 [Docket No.

143].

        8.     On May 31, 2023, the Court entered the Order Granting Application to Employ

AlixPartners, LLP as Financial Advisor to the Official Committee of Unsecured Creditors [Docket

No. 166] (the “Retention Order”).




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       9.      The Retention Order approved the terms of AlixPartners’ hourly fee and expense

structure set forth in the engagement letter dated May 21, 2023 (the “Engagement Letter”) and

authorized AlixPartners to be compensated and reimbursed pursuant to section 327 of the Bankruptcy

Code in accordance with the terms of the Engagement Letter, subject to the procedures set forth in the

Bankruptcy Code, Bankruptcy Rules, Local Rules, U.S. Trustee Guidelines and the Interim

Compensation Order, and any other applicable orders of this Court.

       10.     Pursuant to the Engagement Letter, David MacGreevey is the Partner and Managing

Director responsible for this engagement, assisted by a staff of consultants at various levels with a

wide range of relevant skills and abilities.

                        Fees and Expenses During the Sixth Interim Period

       11.     During the Sixth Interim Period, AlixPartners provided an aggregate of 8.9 hours of

professional services in the amount of $5,924.50.

       12.     Detailed descriptions of the services performed by each professional, organized by

matter category and by date, and the hours of services provided (in tenths of an hour) during the Sixth

Interim Period are attached hereto as Exhibit A.

                 Services by Category Provided During the Sixth Interim Period

       13.     AlixPartners classified the services performed into separate categories.            The

descriptions below summarize the services provided by AlixPartners to the Committee during the

Sixth Interim Period.

       Matter Code 1.2: Meetings & Communication with UCC and Creditors
       0.4 hours - $294.00
           • Held discussions and communicated with other professionals representing the
              Committee

       Matter Code 1.7: Analysis of Liquidity and Cash Management
       2.8 hours - $2,058.00




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             •   Analyzed cash flow budgets published during this Chapter 11 Case and variance
                 reporting packages provided by the Debtor

       Matter Code 1.20: Fee Statements & Fee Applications
       5.7 hours - $3,572.50
           • Managed the fee application process
           • Prepared and reviewed required supporting documentation in accordance with
              requirements of the U.S. Trustee and/or the Court

       14.       AlixPartners believes that the fees and out-of-pocket expenses requested are

reasonable, actual and for necessary services rendered or expenses incurred on behalf of the

Committee during the Sixth Interim Period.

       15.       AlixPartners has not entered into any agreement, express or implied, with any other

party for the purpose of fixing or sharing fees or other compensation to be paid for professional

services rendered in the Chapter 11 Case. No promises have been received by AlixPartners or any

member thereof as to compensation in connection with the Chapter 11 Case other than in accordance

with the provisions of the Bankruptcy Code.

                                            No Prior Request

       16.       No prior request for the relief sought in this Application has been made to this or any

other court. This Application is made without prejudice to further or final applications based upon all

relevant criteria, including the results achieved in the case as a whole.




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                                               Notice

       17.     Notice of this Application has been or will be provided to those parties entitled to

receive notice hereof in accordance with any applicable order of this Court.

                            [Remainder of page intentionally left blank.]




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                                             Conclusion

       WHEREFORE, AlixPartners, as financial advisor to the Committee, respectfully requests:

(i) an interim allowance of compensation for professional services in the amount of $5,924.50 for the

Sixth Interim Period and (ii) such other and further relief as this Court deems proper.

Dated: January 4, 2024                        ALIXPARTNERS, LLP
                                              909 Third Avenue, 28th Floor
                                              New York, New York 10022


                                              /s/ David MacGreevey
                                              By: David MacGreevey
                                                   Partner & Managing Director




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